Case 2:05-cr-20047-.]DB Document 23 Filed 06/02/05 Page 1 of 2 PagelD 20

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Plaintiff,

VS.
CR. NO. 05-20047-B

CHARLES FRANKL|N GRUBB,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August t, 2005 with a
report date of Mondav, Ju|v 25, 2005, at 9:30 a.m., in Courtroom 1, 1‘lth Floor of the
Federa| Building, l\/lemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. §31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a edy trial.
lT lS SO ORDERED this 24;;

d:y::ne, 2005

U|EL BREEN
JN|T D STATES D|STRICT JUDGE

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.'1"th F-ll,‘lc 515

 

D"ISIC COURT - WESRNTE D's'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

